767 F.2d 897
    IMPERIAL CHEMICAL INDUSTRIES PLC, et al., Appellants,v.Gerald J. MOSSINGHOFF, Commissioner of Patents andTrademarks, Appellee.
    Appeal No. 84-1095.
    United States Court of Appeals,Federal Circuit.
    July 17, 1985.
    
      Appealed from U.S. District Court, District of Columbia;  John H. Pratt, Judge.
      Lawrence A. Hymo, Cushman, Darby &amp; Cushman, Washington, D.C., argued for appellants.  With him on brief were Paul N. Kokulis and William T. Bullinger, Washington, D.C.
      Fred W. Sherling, Associate Solicitor, U.S. Patent &amp; Trademark Office, Arlington, Va., argued for appellee.  With him on brief were Joseph F. Nakamura, Solicitor, New York City, and Jere W. Sears, Deputy Solicitor, Washington, D.C.
      Before MARKEY, Chief Judge, MILLER, Senior Circuit Judge, and SMITH, Circuit Judge.
    
    ORDER
    
      1
      A motion has been filed by a nonparty for publication of the court's opinion in this appeal which was disposed of by an unpublished opinion on February 15, 1985, 765 F.2d 160.  The motion is based on the movant's having received an Official Action of the United States Patent and Trademark Office (PTO) which cites as authority the district court's decision from which this appeal was taken, and concern that the PTO might continue to cite that district court decision.
    
    
      2
      The PTO was supplied a copy of this court's February 15, 1985 opinion.  That this court reversed the decision of the district court will be reported in Federal Reporter 2d.  It can be presumed that the PTO will not cite as authority a decision of a district court that has been reversed on appeal.
    
    
      3
      The motion is, accordingly, denied.
    
    